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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION



TEXAS, WISCONSIN, ALABAMA,
ARKANSAS, ARIZONA, FLORIDA, GEORGIA,
INDIANA, KANSAS, LOUISIANA, PAUL
LePAGE, Governor of Maine, Governor Phil
Bryant of the State of MISSISSIPPI, MISSOURI,
NEBRASKA, NORTH DAKOTA, SOUTH
CAROLINA, SOUTH DAKOTA, TENNESSEE,
UTAH, WEST VIRGINIA, NEILL HURLEY, and
JOHN NANTZ,

                                             Plaintiffs,
                                                           Civil Action No. 4:18-cv-00167-O
          v.

UNITED STATES OF AMERICA, UNITED
STATES DEPARTMENT OF HEALTH AND
HUMAN SERVICES, ALEX AZAR, in his
Official Capacity as SECRETARY OF HEALTH
AND HUMAN SERVICES, UNITED STATES
INTERNAL REVENUE SERVICE, and DAVID
J. KAUTTER, in his Official Capacity as Acting
COMMISSIONER OF INTERNAL REVENUE,

                                          Defendants.


CALIFORNIA, CONNECTICUT, DISTRICT OF
COLUMBIA, DELAWARE, HAWAII, ILLINOIS,
KENTUCKY, MASSACHUSETTS,
MINNESOTA by and through its Department of
Commerce, NEW JERSEY, NEW YORK, NORTH
CAROLINA, OREGON, RHODE ISLAND,
VERMONT, VIRGINIA, AND WASHINGTON,

                             Intervenor-Defendants.


      UNOPPOSED MOTION TO RESCHEDULE HEARING ON PLAINTIFFS’
            APPLICATION FOR A PRELIMINARY INJUNCTION




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      On August 14, 2018, the Court scheduled the oral hearing on Plaintiffs’ Application for a

Preliminary Injunction for Monday, September 10, 2018 at 9:30 a.m. ECF No. 184. Counsel for

the Intervenor-Defendants respectfully submit this unopposed motion to reschedule the hearing

for, at the Court’s convenience, either September 13, 2018 or September 14, 2018, to avoid

holding the hearing on the Jewish holiday of Rosh Hashanah, which this year falls on September

10-11, 2018. Co-lead counsel for the State of California, Nimrod P. Elias, is an observant Jew

who cannot attend the hearing if it occurs on this Jewish holiday due to restrictions on working,

traveling, and using electronics during this holiday (which would also preclude travelling to

Texas on September 11th, at least until after nightfall). As explained in the certificate of

conference below, neither the Plaintiffs nor the federal Defendants object to rescheduling the

hearing for either September 13, 2018 or September 14 2018; however, the Plaintiff States have

indicated a preference for September 13, 2018. The Intervenor-Defendants would greatly

appreciate the Court’s accommodation to avoid the aforementioned conflict.

                                          Certificate of Conference

      I hereby certify that on August 15, 2018, I conferred with Austin R. Nimocks, counsel for

the Plaintiff States, concerning the hearing date on Plaintiffs’ Application for a Preliminary

Injunction. During that conference, Mr. Nimocks indicated that the Plaintiff States did not object

to moving the hearing date to either September 13, 2018 or September 14, 2018 (although they

expressed a preference for the hearing to be set on September 13, 2018). On August 15 and 16,

2018, I also conferred with Daniel D. Mauler, counsel for the federal Defendants, concerning the

hearing date on Plaintiffs’ Application for a Preliminary Injunction. In an August 16, 2018

email, Mr. Mauler stated that “[a]fter some re-arranging of schedules, [federal Defendants] can

be available for a hearing on either September 13th or 14th.”




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Dated: August 16, 2018                     Respectfully submitted,

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                                           /S/ NELI N. PALMA

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